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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                   July 14, 2021

Stephen F. Brennwald
BRENNWALD & ROBERTSON, LLP
922 Pennsylvania Avenue, S.E.
Washington, DC 20003
via email: sbrennwald@bcrlawfirm.com


       Re:    United States v. John Strand
              Case No. 1:21-cr-00085-CRC-1

Dear Mr. Brennwald:

       In accordance with Rule 16 of the Federal Rules of Criminal Procedure, and as otherwise
required by law (e.g., Brady v. Maryland, 373 U.S. 63 (1963), United States v. Giglio, 405 U.S.
150 (1972)), the Government has produced preliminary discovery through USAfx File no.
136303664726, contained within a folder entitled Strand Discovery 21CR85. Preliminary
discovery was originally uploaded to USAfx in this case on April 21, 2021. Preliminary
discovery was supplemented on July 14, 2021.

       The following documents have been shared via USAfx on April 21, 2021:

 Serial No.       Document/Video/Photo
 1                Case Opening Communication
 2                EC (FD-1057) Affidavits, Complaints, and Arrest Warrants
 2                Signed-Strand_Gold Unredacted Criminal Complaint
 2                Signed-Strand_Gold Redacted Criminal Complaint
 2                Signed-Strand_Gold Affidavit Unredacted
 2                Signed-Strand_Gold Proposed Sealing Order
 2                Signed-Strand Arrest Warrant
 2                Signed-Gold Arrest Warrant
 3                FD-302 Intake Report
 4                External Import Report
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5           EC (FD-1057) TTK Review
6           Intake Form – [Redacted]
7           Twitter Screenshot
7           External Email – MPD Tip
7           Photograph
8           Twitter Screenshots of John Strand
8           Photograph
8           External Email – MPD Tip
9           External Email – MPD Tip
12          External Email – MPD Tip
13          Twitter Photos and Screenshots
13          Photograph
13          Screenshot 1
13          Photograph
13          Screenshot 3
13          Screenshot 6
13          Photograph
13          Screenshot 7
13          Screenshot 8
13          Screenshot 9
13          Photograph
13          Twitter 2
13          Twitter 1
13          Photograph
13          Screenshot 4
13          Screenshot 2
13          Screenshot 5
13          Twitter Video 2 (00:56)
13          Twitter Video (00:38)
13          CNN Video (00:54)
13          Strand Twitter Photo
14          Records Check for John Strand
14          John H Strands Records
15          Getty Images Video of John Strand and Simone Gold
15          Video (01:30)
16          Interview of [Redacted]
16          Interview Notes
17          WaPo Article
17          Gold WaPo Article Photo 2
17          Gold WaPo Article Photo
17          Simone Gold WaPo Article
18          Interview of [Redacted]
18          [Redacted] Interview Notes
                                      2
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19          FD-302 Capitol Police Video Received
19          John Strand and Simone Gold Video
21          FD-302 Preservation Requests
22          [Redacted]
22          External Email Re: Tip
23          EC (FD-1057) Search Warrants for Strand, Gold
23          21-mj-00270 Application for Warrant
23          21-mj-00270 Order Sealing Documents
23          21-mj-00270 Warrant Individual – Gold
23          21-mj-00270 Ex Parte Application Sealing
23          21-mj-00275 Warrant Individual – Strand
23          21-mj-00275 Order Sealing Documents
23          21-mj-00275 Application for Warrant
23          21-mj-00275 Ex Parte Application Sealing
23          21-mj-00266 Application for Warrant
23          21-mj-00266 Warrant – CAR
23          21-mj-00266 Ex Parte Application Sealing
23          21-mj-00266 Order Sealing Documents
23          Order Sealing Documents Residence
23          Warrant Residence
23          Ex Parte App Sealing Documents Residence
23          Application for Warrant Residence
24          Search of Residence Evidence Log
25          Execution of Search Warrants for Strand and Gold
25          Administrative Worksheet
25          Photo Logs
25          Room Letters
25          Inventory
25          Sketch
25          Log
25          Sign In Log
25          Signed Search Warrants
25          Search Documentation
26          FD-302 California Records Check for Simone Gold and John Strand
26          Strand CII
26          Strand DL Photo
26          Strand Vehicles Registered
26          Strand Wants and Warrants
26          Strand NCIC
26          Strand DMV
26          Strand Firearms
26          Strand CCHRS
27          Interview of [Redacted]
                                       3
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31          Interview of [Redacted]
39          FD-302 Arrest and Initial Appearance for John Strand
39          Executed Warrant Strand
39          Executed Warrant Gold
39          Executed Arrest Warrants (Gold and Strand)
52          FD-302 Attempted Interview of John Strand
55          FD-302 Capture of Twitter Video from [Redacted]
55          Twitter Video (00:28)
57          Indictment of John Herbert Strand and Simone Melissa Gold
57          John Strand and Simone Gold Filed Indictment
58          Indictment
58          Strand Indictment
59          Interviews of USCP Officers [Redacted] and [Redacted]
59          Screenshot of Couple
60          FD-302 Imaging of Flash Media/Thumb Drive
61          STXU Case Request for Assistance
61          Warrant-Residence
67          Criminal History and Outstanding Warrants
75          EC (FD-1057) Propublica Parler Video
75          Video (00:49)
75          Propublica Screenshot – Gold and Strand
76          Comparison of [Redacted] and [Redacted]
76          BOLO Photo #21
78          EC (FD-1057) Arrest Warrant Obtained – Strand & Gold
78          Signed-Strand & Gold (unredacted) Criminal Complaint
78          Signed-Strand & Gold Proposed Sealing Order
78          Signed-Strand & Gold Affidavit (unredacted)
78          Signed-Strand Arrest Warrant
78          Signed-Gold Arrest Warrant
78          Signed-Strand & Gold Affidavit (redacted)
78          Signed-Strand & Gold (redacted) Criminal Complaint
84          FD-302 Interview of USCP Special Agent [Redacted]
84          Photograph
85          FD-302 Interview of USCP Agent [Redacted]
86          FD-302 Interview of USCO Agent [Redacted]
96          EC (FD-1057) Geofencing Results for [Redacted]
97          Interview of [Redacted]
97          Strand Capitol Photo
100         Anonymous Tip
100         External Email – MPD Tip
103         Full Coverage of Lead 10850
1 FISUR     (FD-1054) Surveillance Request of John Strand and Simone Gold
2 FISUR     Physical Surveillance Log
                                       4
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 2 FISUR           Simone Gold Photograph
 2 FISUR           John Strand Photograph
 3 FISUR           01/17/2021 Physical Surveillance of John Strand
 3 FISUR           Photograph Strand
 1                 Subfile Opening Document
 INTELPRODS
 2                 Strand Baseball Card
 INTELPRODS

       The following documents have been shared via USAfx on July 14, 2021:

 Serial No.        Capitol CCTV Footage (HIGHLY SENSITIVE)
 110               Capitol CCTV Video (22:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (22:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (11:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (06:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (08:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (08:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (05:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (04:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (05:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (16:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (13:00)(HIGHLY SENSITIVE)
 110               Capitol CCTV Video (13:00)(HIGHLY SENSITIVE)


        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

       I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
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or scientific tests or experiments, and any expert witness summaries. I also request that
defendant disclose prior statements of any witnesses defendant intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,


                                                     /s/ April H. Ayers-Perez
                                                     April H. Ayers-Perez
                                                     Assistant United States Attorney




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